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 1                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 2                                     AT SEATTLE
 3
     RICK DAVIS, SR., MATHEW KOOHNS, and
 4   BRETT A. LOCKHART, SR., individually and        Case No. 2:21-cv-01220-RSM
     on behalf of all others similarly situated,
 5
                                 Plaintiffs,
 6                                                   ORAL ARGUMENT REQUESTED
            v.
 7

 8   UNITED HEALTH GROUP
     INCORPORATED, et al.,
 9
                                 Defendants.
10

11                        PLAINTIFFS’ OPPOSITION TO
            DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT
12

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 1                                           INTRODUCTION

 2          Plaintiffs Rick Davis, Sr. (“Davis”), Mathew Koohns (“Koohns”), and Brett A. Lockhart,
 3   Sr. (“Lockhart,” and together with Davis and Koohns, “Plaintiffs”), have plausibly alleged that
 4
     Defendants United Health Group Incorporated, UnitedHealthcare Insurance Company,
 5
     UnitedHealthcare of Washington, Inc., and UnitedHealthcare Services, Inc. (collectively,
 6
     “United”) interpreted their plans’ written terms unreasonably. Indeed, United’s proffered
 7

 8
     interpretation—that the plans’ written terms give United unfettered discretion over the

 9   methodology to use in determining how much to reimburse for out-of-network healthcare

10   services—is inherently unreasonable. Not only does it require the Court to ignore or re-write the
11
     written plan terms that directly address this question, it completely disregards Plaintiffs’
12
     allegations—which United does not address, much less dispute—that United interpreted the plans
13
     as it did, and acted as it did, as part of a larger effort to enrich itself at the expense of plan
14
     participants like Plaintiffs. These allegations easily make United’s liability plausible—which is
15

16   all that is required to defeat United’s motion to dismiss (ECF No. 29 (“Mot.”)).

17          United does not dispute, and therefore concedes, that in their First Amended Complaint

18   (“FAC”) (ECF No. 28) Plaintiffs plausibly allege that: (i) Plaintiffs are members of health-care
19
     plans administered by United that are governed by the Employee Retirement Income Security Act
20
     of 1974 (“ERISA”); (ii) Plaintiffs received care from out-of-network providers that had
21
     agreements (“vendor contracts”) with third-party “rental” networks, including MultiPlan and
22
     PMCS, to provide services at agreed-upon rates, to accept those rates as payment-in-full, and to
23

24   not “balance-bill” Plaintiffs; (iii) United had entered into contracts with those third-party networks

25   to make Plaintiffs’ providers (and other out-of-network providers) available to participants in
26   Plaintiffs’ plans (“Plans” or “Vendor Contract Plans”) at those negotiated rates, such that those
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 1   third-party networks were “vendors” under the terms of Plaintiffs’ Plans; (iv) United did not apply

 2   those negotiated rates to claims for services provided to Plaintiffs by providers; and (v) the internal
 3
     policy that United relied upon to disregard the vendor contracts is not a plan document and is
 4
     inconsistent with the written terms of the Vendor Contract Plans.
 5
             United also does not challenge, and therefore concedes, that Plaintiffs have plausibly
 6
     alleged that United’s misinterpretation of the Vendor Contract Plans’ written terms reflected, and
 7

 8   was motivated by, United’s desire to increase its profits. Through its purposeful, organized

 9   initiative to pay providers less regardless of the written promises made in the Plans, United

10   increased the “savings” fee it charged its plan sponsor clients. And United does not challenge,
11
     and therefore concedes, that Plaintiffs have adequately alleged that by ignoring the vendor
12
     contracts, United exposed Plaintiffs to a balance-billing risk that did not exist under the vendor
13
     contracts.
14
             Rather than addressing any of these allegations, United argues that the Vendor Contract
15

16   Plans’ written terms—coupled with a separate, internal policy (the “United Internal ONET

17   Policy”) that is not a plan document—allowed it to do whatever it wants. United is wrong as a
18
     matter of law: no matter how much discretion it was given under its ERISA plans, United cannot
19
     violate its ERISA fiduciary duties by exercising that discretion to advance its own economic
20
     interests over the interests of Plaintiffs, as Plaintiffs have alleged.
21
             United is also wrong as a matter of basic ERISA contract interpretation. United’s argument
22

23
     that the Plans’ written terms give United an undifferentiated menu of reimbursement

24   methodologies is inconsistent with the express, unambiguous written terms of the Plans and

25   ERISA’s statutory scheme, which is built upon the centrality of those written plan terms.
26

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 1          As alleged in the FAC, each of the Vendor Contract Plans has a specific term (the “ONET

 2   Reimbursement Term”) that explicitly sets out a binary, “either/or” hierarchy in deciding how the
 3
     Plan will reimburse benefit claims “[w]hen Covered Health Services are received from a non-
 4
     Network provider.” The ONET Reimbursement Term first states that out-of-network
 5
     reimbursement amounts (called “Eligible Expenses” or “Allowed Amount”) “are based on either
 6
     of the following” two methodologies. It then sets out the two methodologies. The first requires
 7

 8   payment of the “negotiated rate agreed to by the non-Network provider” and United or a United

 9   “vendor.” Only if such an agreed-upon negotiated rate does not exist does a Vendor Contract Plan

10   turn to a separate and distinct second methodology. In particular, the ONET Reimbursement Term
11
     then states: “If rates have not been negotiated, then” a different methodology will be used to
12
     determine the payable amount (emphasis added). Thus, the Vendor Contract Plans “either/or”
13
     reimbursement hierarchy is reinforced by a clear “if/then” dichotomy: if there is no negotiated
14
     rate with United or a United vendor, then the alternative reimbursement methodology is used.
15

16          United’s contrary interpretation is unreasonable. It either renders the conditional phrase

17   (“If rates have not been negotiated, then . . .”) superfluous, since according to United the Vendor
18
     Contract Plan allows United to choose the second methodology even if rates have been negotiated,
19
     or re-writes that phrase to say that the alternative methodology can be used “[e]ven if rates have
20
     been negotiated.” Either way, the Vendor Contract Plans’ actual written terms cannot be
21
     reasonably interpreted in the manner United proposes.
22

23
            The other provision of the Vendor Contract Plans to which United cites—the definition of

24   a “Shared Savings Program”—is irrelevant. Not only is that definition absent from the Miles Sand

25   & Gravel (“MS&G”) plan which covers Plaintiff Koohns, the definitions United cites from the
26
     other two Plans do not even mention or refer to the ONET Reimbursement Provision (or Eligible
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 1   Expenses or Allowed Amount), and the ONET Reimbursement Provision does not mention or

 2   refer to “Shared Savings.” Accordingly, United’s contention that the Shared Savings Program
 3
     definition somehow modifies or supersedes the ONET Reimbursement Provision is unreasonable.
 4
            United’s contention that its violation of the ONET Reimbursement Provision in the
 5
     Vendor Contract Plans is permitted by the United Internal ONET Policy—pursuant to which
 6
     United claims unfettered discretion to do whatever it wants—similarly fails. This internal policy
 7

 8   directly conflicts with, and cannot alter or supersede, the plain written terms of the Vendor

 9   Contract Plans themselves. See, e.g., Kennedy v. Plan Adm’r for DuPont Sav. & Inv. Plan, 555

10   U.S. 285, 301 (2009) (holding that ERISA plan administrator must act in accordance with plan
11
     documents, not external documents that “might purport to affect the dispensation of benefits”);
12
     Egert v. Conn. Gen. Life Ins. Co., 900 F.2d 1032, 1036 (7th Cir. 1990) (plan administrators
13
     “cannot adopt any guidelines they choose and then rely upon these guidelines with impunity;
14
     rather, they may rely only upon those guidelines that reasonably interpret their plans”). Indeed,
15

16   even if provisions of the Vendor Contract Plans or the United Internal ONET Policy could be read

17   to give the Plans’ fiduciary the type of unlimited discretion United suggests, United fails to offer
18
     any argument about how it could legally exercise that discretion to advance its own interests
19
     (generating larger fees for itself) and in a way that harms beneficiaries (because it exposes them
20
     to balance billing), as Plaintiffs have indisputably plausibly alleged. See 29 U.S.C. § 1104.
21
            United’s final arguments about Plaintiffs’ Counts II and III, which seek in the alternative
22

23
     equitable relief for United’s violations of ERISA and plan terms under § 502(a)(3), are also

24   without merit. Under controlling Ninth Circuit authority and as explicitly authorized by Rule 8 of

25   the Federal Rules of Civil Procedure, a plaintiff may plead both § 502(a)(1)(B) and § 502(a)(3)
26
     claims. United’s claim that Plaintiffs have not plausibly alleged a breach of fiduciary duty is
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 1   frivolous—at least 25 paragraphs in the FAC allege facts bearing on United’s fiduciary breach.

 2   See FAC ¶¶ 2-3, 10-15, 71-72, 86, 113, 114-126. Indeed, the FAC plausibly explains why
 3
     United’s improper under-reimbursement of benefits on Plaintiffs’ claims was part of a massive
 4
     fiduciary breach. And because the FAC alleges that Plaintiffs continue to be participants in the
 5
     same Vendor Contract Plans, they face a reasonable risk of future injury from this same conduct
 6
     by United, and thus are not barred from seeking any form of equitable and injunctive relief
 7

 8   available under § 502(a)(3).

 9                                     FACTUAL BACKGROUND

10            As noted above, United’s motion rests on its interpretation of the Vendor Contract Plans.
11
     With one exception, United does not dispute that Plaintiffs have plausibly and sufficiently alleged
12
     the facts underlying their claims.1 Thus, for the Court’s convenience, Plaintiffs only briefly
13
     summarize those well-pleaded facts.
14
              Plaintiffs are employed, and their employers promised them health insurance benefits as
15

16   defined by the written terms of the Vendor Contract Plans, each of which is administered by a

17   United entity that is a named defendant. FAC ¶¶ 15-19. Each of the Plaintiffs’ Plans is governed
18
     by ERISA, and the United claims administrators are ERISA fiduciaries. Id. ¶¶ 28, 56, 87.
19
              Each of the Vendor Contract Plans contain a written term that defines how the Plans will
20
     calculate benefits when Plaintiffs receive covered services from out-ot-network providers—that
21
     is, providers who do not have a direct network contract with United. Id. ¶¶ 30, 57, 89. More
22

23
     specifically, the ONET Reimbursement Provision sets out the approach by which the Vendor

24

25
          1
26           That exception—whether Plaintiffs have adequately pleaded United’s breaches of
     fiduciary duty—is addressed infra.
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 1   Contract Plan will determine the “allowed amount” (a term that is interchangeable with “Eligible

 2   Expenses,” id. ¶¶ 57, 89)—that is, how much the Vendor Contract Plan will pay in benefits for a
 3
     service before any deductible, co-pay, or co-insurance obligations the plan participant may have.
 4
     Id. ¶¶ 30, 57, 89. Although United’s motion correctly quotes most of the ONET Reimbursement
 5
     Provision in each of the Plaintiffs’ Vendor Contract Plans, it omits the critical introductory
 6
     sentence that precedes the two-bulleted provision:
 7

 8          “For Non-Network Benefits, Eligible Expenses are based on either of the
            following:” (emphasis added).
 9
     Thus, for example, the introductory part of the ONET Reimbursement Provision in Plaintiff
10
     Davis’s Plan states in full:
11

12
            For Non-Network Benefits, Eligible Expenses are based on either of the
            following:
13
                   When Covered Health Services are received from a non-Network provider,
14                  Eligible Expenses are determined, based on:
15
                     Negotiated rates agreed to by the non-Network provider and either
16                    UnitedHealthcare or one of UnitedHealthcare’s vendors, affiliates or
                      subcontractors, at UnitedHealthcare’s discretion.
17
                     If rates have not been negotiated, then one of the following amounts:
18
                                   Eligible Expenses are determined based on 110% of the
19
                                    published rates allowed by the Centers for Medicare and
20                                  Medicaid Services (CMS) for the same or similar service
                                    within the geographic area . . .
21
     Id. ¶ 30 (Target Plan); see also id. ¶ 57 (MS&G Plan), ¶ 89 (Jacobs Plan). The only substantive
22
     difference in the relevant parts of this provision among the three Vendor Contract Plans is that in
23

24   the MS&G Plan, the first bullet concerning “negotiated rates” does not include the phrase “at

25   UnitedHealthcare’s discretion,” stating instead: “Negotiated rates agreed to by the out-of-

26   Network provider and either us or one of our vendors, affiliates or subcontractors.” Id. ¶ 57.
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 1          Each of the Plaintiffs received healthcare services from an out-of-network provider. Id.

 2   ¶¶ 33, 58, 73, 92. Each of those providers had entered an agreement (a “vendor contract”) with
 3
     companies that create so called “rental networks.” The provider for Plaintiffs Davis and Koohns,
 4
     Dr. Paul Schwaegler and Seattle Spine Institute PLLC (“SSI”), contracted with both MultiPlan
 5
     and PMCS. Id. ¶¶ 33-35. Lockhart’s provider, the Surgical Center of Viera LLC in Florida
 6
     (“SCV”), also contracted with MultiPlan. Id. ¶ 93. MultiPlan and PMCS both were United vendors
 7

 8   under the terms of Plaintiffs’ Plans. Id. ¶¶ 41, 72, 79. Under those vendor contracts, Plaintiffs’

 9   providers agreed to accept the negotiated rate—a percentage of their billed charges—as payment

10   in full and not to balance bill their patients for the difference between the billed charge and the
11
     negotiated rate. Id. ¶¶ 33-35, 93. As such, it was in Plaintiffs’ best interests to have the vendor
12
     contracts applied when processing their claims. Id. ¶¶ 2, 14, 46, 81, 125.
13
            As alleged, United applied the vendor contract rates to some, but not all, of the claims that
14
     Plaintiffs submitted. For example, as to Plaintiff Davis, United set the allowed amount according
15

16   to the vendor contract for certain claims. Id. ¶¶ 37-41. But for the benefits claims at issue in this

17   case, United chose to disregard the vendor contract and applied an alternate methodology that
18
     resulted in a much lower reimbursement amount. Specifically:
19
                   Plaintiff Davis received a surgical procedure for which Dr. Schwaegler billed
20
                    $2,496 and SSI billed $2,981. Had the PMCS contract been used as it should have
21
                    been, the allowed amount would have been set at $4,929.10, representing 90% of
22

23                  billed charges. Id. ¶ 45. By disregarding the PMCS vendor contract and using a

24                  Medicare-based methodology instead, United reduced the allowed amount by

25                  almost $4,000, increasing Plaintiff Davis’s responsibility by more than $1,500. Id.
26
                    ¶¶ 42-45.
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 1                 Plaintiff Koohns received “staged” spine surgery for which Dr. Schwaegler billed

 2                  a total of $40,327.50, his assistant surgeon billed $7,578.15, and SSI billed a total
 3
                    of $303,873.81. Id. ¶¶ 73-77; see also id. ¶¶ 58-72 (alleging use of Medicare rates
 4
                    instead of negotiated rate in determining allowed amounts for Koohns’s office
 5
                    visits to SSI). By disregarding both the MultiPlan and PMCS vendor contracts, and
 6
                    using a Medicare-based methodology, United reduced the allowed amount by
 7

 8                  around $300,000, while increasing Plaintiff Koohns’s responsibility by about that

 9                  much. Id. ¶¶ 78-79.
10
                   Plaintiff Lockhart received back surgery for which SCV billed a total of
11
                    $305,964.00. Id. ¶¶ 91-97. United disregarded SCV’s vendor contract with
12
                    MultiPlan, and instead applied a proprietary reimbursement methodology by Data
13
                    iSight, a MultiPlan subsidiary that United uses to “reprice” claims. By using Data
14

15                  iSight, United reduced the reimbursement by a significant amount. Id. ¶¶ 91-104.

16                  Lockhart was left responsible for 98% of the claim charges, almost $300,000. Id.

17                  ¶ 112.
18
            Instead of reasonably applying the actual written terms of the Vendor Contract Plans,
19
     United developed and applied its own internal policy (the “United Internal ONET Policy”), which
20
     contradicted those Plan terms. Id. ¶¶ 114-18. Under the United Internal ONET Policy, which is
21
     not part of the Vendor Contract Plans, United purported to “reserve[] the right”—unless
22

23   “prohibited by law”–to cause any of the plans it administers “to pay the lesser of the amount in

24   your third-party network vendor contract or an amount consistent with United’s benchmark
25   standards.” Id. ¶ 117.
26

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 1            United developed the United Internal ONET Policy and misinterpreted the Vendor

 2   Contract Plans in order to serve United’s own economic self-interest. Id. ¶ 119. Drawing on
 3
     testimony from United’s own witnesses at a recent trial in Nevada,2 Plaintiffs allege here that
 4
     United’s actions stemmed from a program it undertook in 2016 to increase the fees it received
 5
     from Plaintiffs’ Plans for “savings” United generated—a fee calculated as a percentage of the
 6
     difference between the providers’ billed charge and the amount paid by the Plan. By
 7

 8   misinterpreting the Plans’ written terms as it did, United increased the gap between billed charges

 9   and paid amounts—and thus increased the value of United’s fee. Id. ¶¶ 120-26. Plaintiffs allege

10   that by engaging in the aforementioned conduct, United violated the terms of the Vendor Contract
11
     Plans and breached its fiduciary duties under ERISA. Id.
12
                                                 ARGUMENT
13
     I.       LEGAL STANDARD
14
              A motion to dismiss under Rule 12(b)(6) “tests the legal sufficiency of a claim.”
15

16   Conservation Force v. Salazar, 646 F.3d 1240, 1241-42 (9th Cir. 2011). The Court must accept

17   as true all well-pled factual allegations and must construe them in the light most favorable to the
18
     plaintiff. Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011). The complaint
19
     need not contain detailed factual allegations, merely “sufficient factual matter . . . to ‘state a claim
20
     to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
21
     Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible when it “allows
22

23

24
          2
          In that case, United was found liable and was ordered to pay $60 million in punitive damages
25
     for using this strategy to underpay for emergency room services offered by a Nevada-based
26   company. Fremont Emergency Servs. (Mandavia) Ltd. v. United Healthcare Ins. Co., No. A-19-
     792978-B (Clark Cty. Dist. Ct.).
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 1   the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 2   Id.
 3
            ERISA’s statutory scheme “is built around reliance on the face of written plan
 4
     documents.” Kennedy, 555 U.S. at 301; Cinelli v. Sec. Pac. Corp., 61 F.3d 1437, 1445 (9th Cir.
 5
     1995) (“[T]he goal of ERISA [is] to ensure that an employee’s rights and obligations can be
 6
     readily ascertained from the plan documents.”). Plan documents like the Vendor Contract Plans
 7

 8   here must be “written in a manner calculated to be understood by the average plan participant.”

 9   See Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 74, 83-84 (1995) (quoting 29 U.S.C.

10   § 1022(a)(1)); see also Padfield v. AIG Life Ins. Co., 290 F.3d 1121, 1125 (9th Cir. 2002) (courts
11
     “interpret terms in ERISA insurance policies in an ordinary and popular sense as would a person
12
     of average intelligence and experience”).
13
            A “contract must be interpreted as a whole such that every term in the contract is given
14
     effect and force.” Cutter & Buck, Inc. v. Genesis Ins. Co., 306 F. Supp. 2d 988, 1011 (W.D. Wash.
15

16   2004). As a result, “[i]nterpretations that contradict and thereby nullify clauses within the contract

17   are disfavored,” as are “interpretations that would result in a term being superfluous or
18
     duplicative[.]” Id. at 1011-12. A fiduciary administrator’s interpretation of an ERISA plan that
19
     conflicts with the plain language of the plan is inherently unreasonable. See Saffle v. Sierra Pac.
20
     Power Co. Bargaining Unit Long Term Disability Income Plan, 85 F.3d 455, 458 (9th Cir. 1996).
21
     Moreover, a claims administrator like United here cannot promulgate and apply a separate internal
22

23
     policy or guideline that conflicts with the terms of the actual plan documents. E.g., Egert, 900

24   F.2d at 1036; Smith v. Health Servs. of Coshocton, 314 F. App’x 848, 859 (6th Cir. 2009) (“A

25   plan administrator can rely on internal rules or policies in construing the terms of an employee
26
     benefits plan only if these rules or policies reasonably interpret the plan.”) (emphasis added);
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 1   Prolow v. Aetna Life Ins. Co., No. 20-80545-CIV-MARRA, 2022 WL 263165, at *14 (S.D. Fla.

 2   Jan 27, 2022) (quoting Egert); White v. Coblentz, Patch & Bass LLP Long Term Disability Ins.
 3
     Plan, No. C 10–1855 BZ, 2011 WL 2531193, at *5 (N.D. Cal. June 24, 2011) (“Courts in this
 4
     District have previously held that insurer defendants in ERISA actions cannot deny claims based
 5
     on standards that are not contained in the policy.”).
 6
     II.    PLAINTIFFS HAVE PLAUSIBLY ALLEGED THAT UNITED’S
 7
            INTERPRETATION OF THE VENDOR CONTRACT PLANS
 8          WAS UNREASONABLE.

 9          Plaintiffs advance an interpretation of the Vendor Contract Plans that is consistent with

10   the plain meaning of the Plan terms themselves, and with ERISA. By contrast, United’s
11
     interpretation conflicts with the relevant Plan terms and ERISA.
12
            A.      Plaintiffs Plausibly Allege a Reasonable Interpretation of the ONET
13                  Reimbursement Provision.
14          Plaintiffs’ interpretation is supported by the plain language of the Plan documents. As
15
     noted above, the provision for reimbursement of ONET claims in the Vendor Contract Plans
16
     provides that reimbursement may be determined by “either” of two approaches. The first approach
17
     listed is the “[n]egotiated rate” agreed to by United or one of its vendors. United does not dispute
18

19
     that the FAC adequately alleges that, as to Plaintiffs’ Plans, United’s vendors entered contracts

20   with Plaintiffs’ providers that included negotiated rates. The second approach applies only

21   conditionally: “[i]f rates have not been negotiated.” When that condition is satisfied—that is, only
22
     when there is no negotiated vendor contract rate—then United may select one of the other
23
     methodologies according to the decision-chain set out under that bullet. Plaintiffs plausibly allege
24
     that, because there were negotiated rates that United had agreed to, the condition to using one of
25

26

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 1   the alternative methodologies was not satisfied. FAC ¶¶ 2, 8, 44-53, 79-81, 98, 102-04, 108, 111-

 2   13, 118, 139-40.
 3
            The other plain terms of the ONET Reimbursement Provision also support Plaintiff’s
 4
     reading of the Plans. After the opening sentence that states that the allowed amount will be
 5
     determined by “either of the following,” the Vendor Contract Plans set out a two-part, “if/then”
 6
     decision-making hierarchy. The first option states that when there is a “negotiated rate,” that must
 7

 8   be used and there is no need to proceed to the second option. The second option applies only “[i]f

 9   rates have not been negotiated.” Id. ¶¶ 30, 57, 89.

10          B.      United’s Interpretation of the ONET Reimbursement Provision Is
                    Inconsistent with the Plain Language of That Written Term.
11

12          United’s discourse on logic to support its tortured interpretation (Mot. 11-14) depends

13   upon ignoring the “either/or” framework expressly set out in the first sentence of the ONET
14   Reimbursement Provision and the conditional phrase that—to any ordinary reader—
15
     communicates that an alternate methodology will only be applied “if rates have not been
16
     negotiated.” United’s interpretation is unreasonable because, contrary to the language of the
17
     written plan term, United’s interpretation treats all of the options—vendor contract rate, Medicare
18

19
     rate, “gap methodology,” etc.—as an undifferentiated menu of equal-priority options from which

20   United can pick whichever one it wants. If that were the case, then the actual language of the

21   ONET Reimbursement Provision would make no sense: the word “either,” followed by two
22
     options, would have no meaning; and the phrase “if rates have not been negotiated” would be
23
     entirely superfluous. The only reasonable way to show the options consistent with United’s view
24

25

26

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 1   would be to present a list of options, without any conditional clauses limiting the circumstances

 2   for any of the options.3 The ONET Reimbursement Provision is not such a provision.
 3
            Following United’s “logic” through the rest of the ONET Reimbursement Provision
 4
     underscores its absurdity. In the MS&G Plan, for example, there are at least three other conditional
 5
     clauses in the ONET Reimbursement Provision that, by any natural read, set out a decision-
 6
     making flow chart for determining the ONET reimbursement allowed amount:
 7

 8                 If vendor contract rates “have not been negotiated,” then “Allowed Amounts are
                    determined based on 110% of the published rates allowed by the Centers for
 9                  Medicare and Medicaid Services [“CMS”].”
10
                   “When a rate is not published by CMS for the service, we use an available gap
11
                    methodology to determine a rate for the service as follows.”

12                 As to laboratory services, “[w]hen a rate . . . is not published by CMS . . . and a
                    gap methodology does not apply to the service, the rate is based on the average
13                  amount negotiated with similar Network providers for the same or similar service.”
14
                   “When a rate for all other services is not published by CMS for the service and
15                  a gap methodology does not apply to the service, the Allowed Amount is based
                    on 20% of the provider’s billed charge.”
16

17

18

19

20

21      3   Indeed, in contrast to the hierarchical decision-making chain in the ONET Reimbursement
22
     Provision, the Vendor Contract Plans also contain non-hierarchical, “any of the following”-type
     lists, demonstrating that plan sponsors know how to create such lists when they want to. E.g.,
23   Target Plan at 28-29 (describing a qualifying Clinical Trial as one that “meets any of the following
     criteria in the bulleted list below”) (ECF No. 30-1); MS&G Plan at 10 (stating that the plan will
24   recognize as a “federally funded trial” a trial approved or funded by any one of a list of
     government agencies) (ECF No. 30-3), 67 (“We have the right to release records concerning
25
     health care services when any of the following apply . . .”) (ECF No. 30-5); Jacobs Plan at 139
26   (services are “experimental or investigational” when United determines that “any of the
     following” three circumstances apply) (ECF No. 30-2).
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 1   MS&G Plan at 33 (ECF No. 30-3) (emphasis added).4 Under United’s illogical read, none of these

 2   conditional phrases means anything: United can choose the “next” methodology in the decision-
 3
     making chain whenever it wants—even when the condition (no published rate, no applicable gap
 4
     methodology) is not satisfied.5 United’s interpretation fails to give “effect and force” to some
 5
     terms and renders others a nullity. See Cutter & Buck, 306 F. Supp. 2d at 1011-12.
 6
              One final point: United appears to argue that, in the Target and Jacobs Plans (but not the
 7

 8   MS&G Plan), the phrase “at UnitedHealthcare’s discretion” in the ONET Reimbursement

 9   Provision somehow gives United the right to reject the negotiated vendor contract rate as it did

10   here. Mot. 6.6 That interpretation is also unreasonable. The only way to read this clause, without
11
     rendering other plan terms incomprehensible, is that it grants United discretion about whether or
12
     not to enter into contracts with vendors, or which negotiated rate to apply if more than one such
13
     contract is potentially applicable (e.g., the provider has a contract with PMCS and MultiPlan, such
14
     as with SSI, the provider for Plaintiffs Davis and Koohns). Were it otherwise, then the conditional
15

16   phrase of the second, fallback option would not make sense—because if “rates have [] been

17

18

19

20
        4
21
          The ONET Reimbursement Provision in the Jacobs Plan contains two conditional clauses in
     addition to “If rates have not been negotiated.” ECF No. 30-2 at 10-11. The ONET
22   Reimbursement Provision in the Target Plan contains three conditional clauses in addition to “If
     rates have not been negotiated.” ECF No. 30-1 at 7-8.
23      5
            Applying United’s presentation style (see Mot. 12):
24
        Actual Plan Language: “If rates have not been negotiated, then one of the following
25      amounts.”
        United’s Position: “Even if rates have been negotiated, then one of the following amounts.”
26      6
            The MS&G Plan of Plaintiff Koohns lacks this phrase. FAC ¶ 57.
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 1   negotiated,” but United, in its supposedly unlimited discretion, has decided to reject them, what

 2   rate would apply then? The Vendor Contract Plans would provide no answer.7
 3
            C.      United’s Interpretation of Vendor Contract Plans Is Unreasonable Because It
 4                  Depends on Irrelevant Plan Terms and Is Inconsistent with Its ERISA
                    Fiduciary Duties.
 5
            United attempts to find support in the definition of the “Shared Savings Program,” which
 6
     is only two of the three Vendor Contract Plans of the named Plaintiffs. Mot. 4. But those
 7

 8   definitions are irrelevant. The ONET Reimbursement Provision, which Plaintiffs allege that

 9   United unreasonably interpreted, does not mention or refer to the Shared Savings Program.

10   Similarly, the Shared Savings Program definition does not mention or refer to the ONET
11
     Reimbursement Provision (or “Eligible Expenses” or “Allowed Amount”). Thus, those
12
     definitions are simply irrelevant to determining what the allowed amount should be under the
13
     relevant term in a Vendor Contract Plan. United offers no caselaw or principal of contract
14
     interpretation to support its claim that this unmentioned, unreferenced term can radically alter the
15

16   meaning of the ONET Reimbursement Provision. In fact, the ONET Reimbursement Provision—

17   a specific provision that unambiguously explains how the Plan sponsor has agreed that Eligible
18
     Expenses are determined when covered services are received from an ONET provider—must
19
     control over the nebulous, general Shared Savings definition. See, e.g., S. Cal. Gas Co. v. City of
20

21

22

23

24
        7
           United may contend that, in such a situation, United has the authority to choose a
25
     reimbursement methodology other than those set out in the Vendor Contract Plans. However, an
26   interpretation that relies upon an undisclosed, secret method would be inherently unreasonable
     and would violate ERISA’s plan document rule. See Kennedy, 555 U.S. at 300-01.
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 1   Santa Ana, 336 F.3d 885, 891 (9th Cir. 2003) (per curiam) (specific terms of a contract govern

 2   inconsistent, more general terms).8
 3
            United’s suggestion that its interpretation of the Vendor Contract Plans is consistent with
 4
     its fiduciary duties (e.g., Mot. 1, 3, 9-10) betrays a profound misunderstanding of the obligations
 5
     imposed by ERISA. On the first page of its brief, United declares that Plaintiffs’ position “flouts
 6
     United’s fiduciary duty to preserve Plan assets for the benefit of all participants, not just the few,”
 7

 8   revealing its view that “preserving plan assets” is its primary purpose. Not only is this inconsistent

 9   with Plaintiffs’ allegations that United was seeking to maximize its own profits, not to protect the

10   plans (FAC ¶¶ 2-3, 10-15, 71-72, 86, 113, 114-126), United’s statement also flatly misstates what
11
     ERISA requires of a fiduciary. Section 1104 says nothing about limiting benefit payments to save
12
     money for a plan. Rather, § 1104(a)(1)(A)(ii), on which United relies (Mot. 2, 16), required United
13
     to keep administrative expenses down, not benefit payments. And § 1104 makes clear that
14
     benefits and administrative expenses are two very different things: an ERISA fiduciary like
15

16   United must act “solely in the interest of [plan] participants and beneficiaries” by “providing

17   benefits” (§ 1104(a)(1)(A)(i)) and “defraying reasonable expenses of administering the plan”
18
     (§ 1104(a)(1)(A)(ii)). Under ERISA, United’s duty is to use any discretion it is granted by the
19
     plan to minimize the plan’s administrative costs, while maximizing the interests of plan members
20

21

22

23

        8
24         And even assuming arguendo that there were circumstances where United could disregard
     the negotiated vendor contract rate in the Vendor Contract Plan in favor of another rate under the
25
     Shared Savings Program, United could not do so without violating its ERISA fiduciary duties
26   when, as alleged in the FAC, its decision to use another rate was influenced by its own economic
     self-interest. E.g., FAC ¶¶ 114-26.
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 1   in obtaining benefits. United’s troubling misunderstanding of ERISA only further demonstrates

 2   the plausibility of Plaintiffs’ allegations.
 3
             Here, the FAC alleges that United adopted its strategy of misreading the Vendor Contract
 4
     Plans for its own economic self-interest, not out of any concern for the Plans’ assets. FAC ¶¶ 2-
 5
     3, 10-15, 71-72, 86, 113, 114-26.9 And indeed, because by rejecting the vendor contract rates
 6
     United exposed Plaintiffs to balance-billing risks that would not exist if United applied the vendor
 7

 8   contract rate as required by the Vendor Contract Plans, Plaintiffs have plausibly alleged that

 9   United acted contrary to the interests of the Plan members, in direct violation of their ERISA

10   fiduciary obligations imposed under 29 U.S.C. § 1104. See, e.g., id. ¶¶ 9, 14, 34, 81, 93, 125. At
11
     this stage, the Court must reject United’s explanation and must accept Plaintiffs’ factual
12
     allegations about United’s self-interested approach to reimbursing Plaintiffs’ claims—allegations
13
     that United does not dispute are well-pleaded.
14
             D.      United Improperly Relies on an Internal Policy That Is Inconsistent with the
15
                     Written Terms of the Vendor Contract Plans and Violates United’s Fiduciary
16                   Duties.

17           Finally, United points to the United Internal ONET Policy—which Plaintiffs allege is a
18
     self-serving document that United internally created that is not a plan document and, in fact,
19
     contradicts the Plans’ written terms (FAC ¶¶ 116-19)—as the source of its authority to choose
20

21

22

23
         9
24        United essentially contends that it is not breaching its fiduciary duty if it puts the financial
     interest of the plan as a whole over that of the insureds, but this ignores the fact that Plaintiffs’
25   employers (the plan sponsors) promised to pay benefits consistent with the ONET Reimbursement
     Provision, so they already determined that it is in their interest to reimburse ONET providers at
26   the vendor contract rate.
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 1   whatever reimbursement approach it wants. Mot. 1, 6.10 It is blackletter ERISA law that a

 2   fiduciary’s internal policy cannot trump written plan terms and ERISA’s fiduciary duties. FAC
 3
     ¶¶ 116-119. See, e.g., Egert, 900 F.2d at 1036; Meidl v. Aetna, Inc., 346 F. Supp. 3d 223, 240-41
 4
     (D. Conn. 2018) (denying summary judgment to defendant where plaintiff introduced evidence
 5
     that insurer relied on separate, internal criteria to determine if treatment was experimental, and
 6
     finding that “no person of average intelligence and experience would interpret” the plan terms as
 7

 8   consistent with the internal criteria, and that the internal criteria had “no basis in the text” of the

 9   plans); Wit v. United Behavioral Health, No. 14-cv-02346-JCS, 2019 WL 1033730, at *22 (N.D.

10   Cal. Mar. 5, 2019) (concluding that guidelines developed internally by claims administrator were
11
     not plan terms, but were instead United’s unreasonable interpretation of plan terms); cf. Kennedy,
12
     555 U.S. at 301 (plan administrator must dispense benefits as required by written terms of the
13
     ERISA plan, not other documents).11 Far from being exculpatory, the United Internal ONET
14
     Policy is actually proof that United is breaching its fiduciary duties by adopting a policy
15

16   purporting to allow it to ignore the clear and unambiguous terms of the plans it administers,

17   including Vendor Contract Plans. Finally, the United Internal ONET Policy’s statement that it
18
     does not apply where “prohibited by law” bars United from using it here, where Plaintiffs have
19
     alleged that doing so would violate United’s fiduciary duties under ERISA.
20

21

22
         10
           By stating that “the Plans . . . vest United with . . . ‘the right to pay the lesser of the amount’”
23   of certain rates (Mot. 1), United misleadingly suggests that the bolded, italicized phrase comes
     from a Plan. In fact, the quote comes from the United Internal ONET Policy, not any Plan
24
     document.
25       11
           Here, the United Internal ONET Policy refers to United’s “benchmark standards,” a term
26   that not only does not appear in any of Plaintiffs’ Plans, but is not even defined in the Internal
     ONET Policy itself.
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 1   III.    PLAINTIFFS PLAUSIBLY PLEAD FACTS TO SUPPORT THEIR CLAIMS
             UNDER § 502(a)(3).
 2
             United contends that Plaintiffs have failed to plausibly state a claim for breach of fiduciary
 3

 4   duty. Mot. 13-14, 16. But United simply ignores Plaintiffs’ extensive allegations that expressly

 5   describe and explain United’s breaches. See FAC ¶¶ 2-3, 10-15, 71-72, 86, 113-126. United does

 6   not dispute that these allegations are plausible. Rather, United asserts only that “United honored
 7
     the terms of the Plans in calculating Eligible Expenses for Plaintiffs’ claims.” Mot. 13. But
 8
     Plaintiffs have alleged the opposite, supported by 126 paragraphs of plausible factual allegations.
 9
     See generally FAC. On a motion to dismiss, United loses because the Court must resolve all
10
     factual disputes in Plaintiffs’ favor.
11

12           United’s related argument—that Plaintiffs’ entire legal theory boils down to the contention

13   that United violated its fiduciary duties by not selecting the reimbursement method “that resulted
14   in the highest reimbursement” (Mot. 16)—is equally misplaced. As set out exhaustively in the
15
     FAC, Plaintiffs allege that United violated its fiduciary duties imposed by ERISA (29 U.S.C.
16
     § 1104) by, inter alia, interpreting and applying written plan terms in a manner that is inconsistent
17
     with those plan terms; pursuant to a purposeful strategy of disregarding vendor contract rates in
18

19
     order to reimburse at lower rates and thus to reap increased fees for itself; and in so doing, exposed

20   plan members to balance-billing risks that would not exist if the vendor contracts were applied.

21   E.g., FAC ¶¶ 10-15, 86, 113-126. The allegation is not that United must always select the highest
22
     reimbursement rate possible regardless of any other consideration; rather, the allegation is that
23
     United must reasonably interpret the Plans’ written terms when making benefit determinations
24
     and otherwise comply with its ERISA fiduciary duties. As alleged, it failed to do so.
25

26

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 1          A.      Controlling Ninth Circuit Authority Compels Denial of United’s Motion to
                    Dismiss Plaintiffs’ Non-Duplicative § 502(a)(3) Claims.
 2
            Given United’s position that Plaintiffs cannot state a claim for a breach of ERISA’s
 3

 4   statutory fiduciary duties under § 502(a)(1)(B) (Mot. 13-14), and Plaintiffs’ extensive plausible

 5   allegations that United’s alleged fiduciary breaches injured Plaintiffs beyond just the denial of

 6   benefits (see FAC ¶¶ 14, 46, 80, 109, 112-113, 125), United’s challenge to the sufficiency of
 7
     Plaintiffs’ § 502(a)(3) claims is groundless.
 8
            Counts II and III seek relief under 502(a)(3) only in the alternative, “to the extent that”
 9
     full relief to remedy Plaintiffs’ injuries is not available under § 502(a)(1)(B). Thus, they are by
10
     definition non-duplicative of Count I. Section 502(a)(3)(A) permits an action “to enjoin any act
11

12   or practice which violates [ERISA] or the terms of the plan,” while § 502(a)(3)(B) provides for

13   “other appropriate equitable relief” to redress a violation of ERISA or plan term, or to enforce
14   any provision of ERISA or plan term. 29 U.S.C. § 1132(a)(3). United does not argue that Plaintiffs
15
     failed to plausibly allege the essential element of this claim (i.e., an act or practice that violates
16
     ERISA or the Plans’ written terms). Instead, United seeks to dismiss the § 502(a)(3) claims based
17
     solely on its assertion that Plaintiffs’ § 502(a)(1)(B) claims—which United also seeks to
18

19
     dismiss—can fully remedy Plaintiffs’ injuries. See Mot. 14-16.

20          United’s argument conflicts directly with controlling Ninth Circuity authority. In Moyle

21   v. Liberty Mutual Retirement Benefit Plan, 823 F.3d 948, 961 (9th Cir. 2016), the Court of
22
     Appeals held that “§ 1132(a)(1)(B) and § 1132(a)(3) claims may proceed simultaneously so long
23
     as there is no double recovery.” The Court found cases concluding otherwise to be “clearly
24
     irreconcilable” with Cigna Corp. v. Amara, 563 U.S. 421 (2011), and held that such earlier
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     decisions “are no longer binding.” Id. at 962. See also Silva v. Metro. Life Ins. Co., 762 F.3d 711,
26

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 1   726 (8th Cir. 2014) (“Varity Corp. did not deal with pleading but rather with relief . . . .”) (quoting

 2   Black v. Long Term Disability Ins., 373 F. Supp. 2d 897, 902-03 (E.D. Wis. 2005)).
 3
              Relying on Moyle, courts in this Circuit regularly hold that alternative claims for relief
 4
     under § 502(a)(3) should not be dismissed at the pleading stage. Poisson v. Aetna Life Ins. Co.,
 5
     488 F. Supp. 3d 942, 948 (C.D. Cal. 2020) (denying motion to dismiss 502(a)(3) claim as
 6
     duplicative); Hancock v. Aetna Life Ins. Co., 251 F. Supp. 3d 1363, 1370 (W.D. Wash. 2017)
 7

 8   (“even at the summary judgment stage, a plaintiff may proceed with simultaneous claims under

 9   Sections 1132(a)(1)(B) and (a)(3)”). As the court stated in Cherry v. Prudential Insurance Co. of

10   America, No. C21-27 MJP, 2021 WL 2662183, at *2 (W.D. Wash. June 29, 2021), in granting a
11
     motion to compel discovery on a § 502(a)(3) claim: “Pleading multiple causes of action and
12
     alternative theories of liability is a standard practice of civil litigation. See F.R.C.P. Rule 8(a)(3).
13
     And it is permissible under ERISA.”12
14
              B.     Plaintiffs May Seek All Relief Available under § 502(a)(3).
15

16            Finally, United contends that Plaintiffs lack standing to seek injunctive relief. Mot. 17-18.

17

18

19

         12
20          The main cases on which United relies pre-date Moyle, and are inapposite anyway. Unlike
     Nielsen v. Unum Life Insurance Co. of America, 58 F. Supp. 3d 1152, 1165-66 (W.D. Wash.
21
     2014), Plaintiffs here have alleged a “systemic breach of fiduciary obligations” and have
22
     responded to defendant’s argument about the fiduciary breach claim. Baxter v. MBA Grp. Ins. Tr.
     Health & Welfare Plan, 958 F. Supp. 2d 1223, 1238 (W.D. Wash. 2013), involved a motion for
23   summary judgment, not a motion to dismiss; and again, the plaintiff there did not respond to the
     defendants’ argument. And United cites Smith v. Cigna Health & Life Ins. Co., No. 3:20-cv-624-
24   SI, 2020 WL 5834786, at *6 (D. Or. Sept. 30, 2020) (dismissing § 502(a)(3) claim that failed to
     alleged a violation of ERISA or plan terms), but fails to disclose that in the same case, the court
25
     subsequently denied Cigna’s motion to dismiss plaintiff’s amended complaint and allowed the
26   plaintiff’s § 502(a)(1)(B) and § 502(a)(3) claims to simultaneously go forward. Smith v. Cigna
     Health & Life Ins. Co., No. 3:20-cv-624-SI, 2021 WL 1895234, at *2 (D. Or. May 11, 2021).
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 1   United is wrong, especially at the pleading stage. Plaintiffs have alleged that they are still

 2   members or participants in their Vendor Contract Plans. FAC ¶¶ 16-18, 28, 56, 87. Thus, it is
 3
     entirely plausible that in the future Plaintiffs will receive out-of-network care and submit claims
 4
     for benefits covered by the vendor contract rate. Accordingly, it is entirely proper to seek forward
 5
     looking injunctive relief that requires United to reasonably interpret the plain terms of their Plans
 6
     and to stop violating its fiduciary duties. See, e.g., Wit v. United Behavioral Health, No. 14-cv-
 7

 8   02346-JCS, 2020 WL 6479273, at *43 (N.D. Cal. Nov. 3, 2020) (rejecting argument that plaintiffs

 9   were not entitled to injunctive relief where defendant stipulated that certain named plaintiffs were

10   still covered by its plans). United’s position is particularly striking given that it requires ignoring
11
     the express provisions in ERISA itself which provide that ERISA participants or beneficiaries,
12
     like Plaintiffs, may sue “to clarify [their] rights to future benefits under the terms of the plan,” 29
13
     U.S.C. § 1132(a)(1)(B), and “to enjoin any act or practice which violates [ERISA] or the terms of
14
     the plan,” 29 U.S.C. § 1132(a)(3)(A). United’s position that Plaintiffs cannot seek to address
15

16   future actions is therefore belied by ERISA itself.

17                                             CONCLUSION
18
            For the foregoing reasons, the Court should deny United’s motion to dismiss.
19
     DATED: February 22, 2022
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